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                                                                                     FILED
                                                                                     01-18-2019
                                                                                     Clerk of Circuit Court
                                                                                     Langlade County, WI
                                                                                     2019CV000009
                                                                                     Honorable John B. Rhode
                                                                                     Branch 1



STATE OF WISCONSIN                      CIRCUIT COURT                    LANGLADE COUNTY


VOLM COMPANIES, INCORPORATED
a Wisconsin Corporation,
1804 N. Edison Street
Antigo, WI 54409

                      Plaintiff,
         v.                                               Case No. 2019-CV-000009 (JBR)
                                                          Case Code: 30301—Money Judgment
KWIK LOK CORPORATION
an Indiana Corporation,
1222 Ryan Road
New Haven, IN 46774,

and

KWIK LOK CORPORATION
a Washington Corporation,
2712 S. 16th Avenue
Yakima, WA 98903

                      Defendants.

______________________________________________________________________________

                            AMENDED SUMMONS
______________________________________________________________________________

THE STATE OF WISCONSIN, to each person named above as a Defendant:

You are hereby notified that the Plaintiff, Volm Companies, Incorporated, has filed a lawsuit or
other legal action against you. The Amended Complaint, which is attached, states the nature and
basis of the legal action.

Within forty-five (45) days of receiving this Amended Summons, you must respond with a written
answer, as that term is used in Chapter 802 of the Wisconsin Statutes, to the Amended Complaint.
The court may reject or disregard an answer that does not follow the requirements of the statutes.
The answer must be sent or delivered to the Clerk of Court of the Circuit Court of Langlade
County, whose address is Langlade County Courthouse, 800 Clermont Street, Antigo, WI 54409,

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and to Plaintiff’s attorneys:

Robert L. Gegios
Kohner, Mann & Kailas, S.C.
Washington Building,
Barnabas Business Center,
4650 North Port Washington Road
Milwaukee, Wisconsin 53212-1059

You may have an attorney help or represent you.

If you do not provide a proper answer within forty-five (45) days, the court may grant judgment
against you for the award of money or other legal action requested in the Amended Complaint,
and you may lose your right to object to anything that is or may be incorrect in the Amended
Complaint. A judgment may be enforced as provided by law. A judgment awarding money may
become a lien against any real estate you own now or in the future, and may also be enforced by
garnishment or seizure of property.

       Dated this 18th day of January, 2019.

                                        By:    Electronically signed by Atty. Ryan M. Billings
                                               Robert L. Gegios
                                               State Bar No. 1002906
                                               Ryan M. Billings,
                                               State Bar No. 1084543
                                               KOHNER, MANN & KAILAS, S.C.
                                               Washington Building
                                               Barnabas Business Center
                                               4650 N. Port Washington Road
                                               Milwaukee, WI 53212-1059
                                               Telephone:     (414) 962-5110
                                               Facsimile:     (414) 962-8725
                                               Email:         rgegios@kmksc.com
                                                              rbillings@kmksc.com

                                               Attorneys for       Plaintiff   Volm    Companies,
                                               Incorporated




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STATE OF WISCONSIN                       CIRCUIT COURT                    LANGLADE COUNTY


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a Washington Corporation,
2712 S. 16th Avenue
Yakima, WA 98903

                      Defendants.



                                   AMENDED COMPLAINT


         As its Amended Complaint against the Defendants, Kwik Lok Corporation (IN) and Kwik

Lok Corporation (WA), Plaintiff, Volm Companies, Incorporated, alleges as follows:

                                             Parties

         1.    Plaintiff Volm Companies, Incorporated (“Volm”), is a Wisconsin corporation,

with its principal place of business located at 1804 N. Edison Street, Antigo, WI 54409. Started as

a small family-run business in Bryant, Wisconsin, in 1954, Volm has grown to become a leading

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source for packaging and equipment solutions for a wide variety of products, such as potatoes,

onions, citrus and other produce.

         2.    Defendant Kwik Lok Corporation (“Kwik Lok (IN)”) is an Indiana corporation,

that presently with the state of Indiana lists its principal place of business as 1222 Ryan Road, New

Haven, IN 46774. On information and belief, the address from which Kwik Lok (IN) is managed

and primarily operated, and its actual principal place of business, is located at 2712 S. 16th Avenue,

Yakima, WA 98903.

         3.    Defendant Kwik Lok Corporation (“Kwik Lok (WA)”) is a Washington

corporation, with its principal place of business located at 2712 S. 16th Avenue, Yakima, WA

98903.

         4.    At all times material to this Amended Complaint, Kwik Lok (IN) and Kwik Lok

(WA) presented themselves to Volm and the public as Kwik Lok, a single company, making no

distinction between the two corporate entities, and failing to distinguish between the two

companies in interacting with Volm and the public as to their respective patent, trademark or other

intellectual property rights, or in any other way. They acted jointly at all times material to this

Amended Complaint, are jointly and severally liable for each other’s conduct, and will be referred

to together as “Kwik Lok.” Kwik Lok manufactures plastic bag-closures, and machines that

automatically apply plastic bag-closures to bags.

                                     Jurisdiction and Venue

         5.     Jurisdiction is proper in this Court under Wis. Stat. §§ 801.05(1)(d), (3), (4), and

(5), because, among other things, Kwik Lok is engaged in substantial and not isolated business

activities within Wisconsin, and the injury complained of occurred in Wisconsin as a result of

Kwik Lok’s conduct and promises within and outside of Wisconsin.



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       6.      Venue is proper in this Court under Wis. Stat. § 801.50(2)(a), (b) and (c), because,

among other things, the claims arose in Langlade County.

       A.      Volm’s Business and Decades-Long History with Kwik Lok.

       7.      As part of its business, Volm designs, manufactures, sells, distributes and services

machines and products that allow Volm’s customers to pack potatoes, onions, citrus and other

products. Volm’s customers pack such products, among other things, for sales to consumers in

supermarkets and grocery stores. A significant number of Volm’s customers are Wisconsin

businesses, and a significant amount of Volm’s products are ultimately sold to Wisconsin

consumers.

       8.      Kwik Lok is a manufacturer and seller of plastic bag-closures and machines that

automatically apply plastic bag-closures to close plastic and other bags. Kwik Lok’s plastic bag-

closures are ubiquitous, and can be found in virtually every supermarket and grocery store in

Wisconsin. Below is an image of one such closure:




       9.      Kwik Lok originally developed its plastic bag-closures and bag-closing machines

for the bread industry. However, beginning in the late 1980’s, Kwik Lok began working with

Volm. Over the next two decades, with Volm’s help, including receiving access from Volm to

Volm’s network of customers and Volm’s assistance in helping Kwik Lok adapt its bread-closing

machines to work with other products, Kwik Lok was able to expand sales of its products beyond

the bread industry into the potato, onion, citrus and other produce industries.

       10.     In addition to helping design, sell, and service Kwik Lok bag-closure machines,

Volm designs, manufactures, sells and services machines that sort, weigh, fill, and convey products
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through Kwik Lok machines, and Volm also manufactures plastic bags that are closed via Kwik

Lok machines and closures. When put together, Volm’s and Kwik Lok’s machines and products

are a complete automatic-packing solution for Volm’s customers, to whom Volm sells and services

the bundles of Volm and Kwik Lok products.

       11.     So that Volm’s and Kwik Lok’s products would work together in an integrated

system of machines, Volm spent considerable time and resources working with Kwik Lok to

develop products that would work with Volm’s machines. For example, Volm retrofitted and

redesigned a ‘1083 bag closure system to integrate Kwik Lok products with the carousel bagger

that Volm developed. These substantial investments by Volm benefitted Kwik Lok, as, because of

Volm’s help, Kwik Lok was able to design a product that would be useful to Volm’s customer

base in the potato, onion, citrus and other produce industries, which opened up these markets for

sales of Kwik Lok products.

       12.     The relationship between Volm and Kwik Lok was tremendously successful over

the course of more than 25 years. Volm sold millions of dollars of Kwik Lok machines, closures,

and parts each year for decades. Kwik Lok recognized Volm’s substantial contributions to Kwik

Lok’s success by giving Volm awards and plaques designating Volm as the seller of “The Largest

Number of Automatic Machines Sold” among all of Kwik Lok’s partners, in 2002, 2003, 2004,

2008, 2009, 2010, 2011-2012, 2012-2013, 2013-2014, and 2014-2015. Kwik Lok also gave Volm

the designation of “OEM,” meaning Original Equipment Manufacturer, to recognize Volm’s

original, ground-floor participation in Kwik Lok’s growth and success. Volm believes it is the

largest seller of Kwik Lok products for fresh produce in the United States, responsible for between

eight and nine percent of all sales of Kwik Lok products.




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       13.     Volm employs more than a dozen sales representatives as well as a sales team to

sell Kwik Lok products, and has invited Kwik Lok employees to Volm’s national sales meetings

and client dinners to introduce Kwik Lok employees to Volm customers and faithfully honor the

sales relationship Volm believed it had with Kwik Lok.

       14.     Volm also is a primary servicer of Kwik Lok products, employing more than 20

technicians, several employees responsible for parts, and a support team of Volm employees who

are trained to service Kwik Lok products purchased by Volm’s customers. Volm also maintains a

large inventory (at times worth more than $1 million) of Kwik Lok machines, equipment and

products, so that Volm can promptly replace (rather than engaging in lengthy repairs) a Volm

customer’s malfunctioning machine, to limit down-time to a bare minimum and protect Volm’s

customers in a fast-paced packing environment where product must be packed and shipped quickly

to meet demand and prevent spoilage.

       15.     This relationship between Kwik Lok and Volm, for more than 25 years, was a

“handshake agreement” with no formal written contract. Both parties were satisfied with this

relationship for decades, and under this arrangement, Volm sold many millions of dollars in Kwik

Lok products to Volm’s customers.

       B.      Kwik Lok’s Monopoly and Improper Efforts to Preserve It.

       16.     There is a discrete, nationwide market in the United States for plastic bag-closures

that are applied by automatic or semi-automatic bag-closing machines (the “Plastic Bag-Closures

Market”). For many years, including at all times material to this Amended Complaint, there were

no reasonably substitutable products in the United States for such plastic bag-closures. Kwik Lok,

through a series of patents, maintained a monopoly of the Plastic Bag-Closures Market for decades.

As those patents began to expire, however, Kwik Lok engaged in a series of wrongful and unlawful



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acts that sought or accomplished improper monopolization, and created a dangerous probability of

success in monopolizing the Plastic Bag-Closures Market for years to come.

       17.     There are significant barriers to entry in the Plastic Bag-Closures Market, including,

without limitation, substantial costs associated with research, design, marketing, production and

distribution of these products, along with the closing machines that apply them. Further, for the

closure and closing-machines to work properly, they must share identical or very similar technical

standards with relation to the shape and size of the plastic bag-closure products that are applied by

the closing machines, requiring coordination in the design and operation of the closures and closure

machines.

       18.     Kwik Lok introduced the first plastic bag-closures designed to run on automatic

bag-closure machines in 1962, and patented both the closures and the automatic-closure machines.

Through its patents, Kwik Lok was able to maintain an unchallenged monopoly in the Plastic Bag-

Closures Market in the United States for more than 30 years.

       19.     However, patents do not last forever. Kwik Lok knew that eventually its patents

would run out, and it would face competition.

       20.     In an improper, anti-competitive effort to extend its monopoly, Kwik Lok

misrepresented to the public that its plastic bag-closures and its automatic bag-closure machines

were protected, even after its patents had expired.

       21.     Among other examples, as of March 7, 2013, Kwik Lok falsely and misleadingly

stated on its website (www.kwiklok.com): “We designed and patented the original all-plastic bag

closures.” As of December 19, 2013, Kwik Lok falsely and misleadingly advertised on the Sun

Country website (www.suncountrypackaging.com) that its “closures have a patented web-

connecting design that allows the closure to be separated from the strip without producing



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objectionable web residue.” There was no disclosure on either website that Kwik Lok’s patents

had expired and no longer protected Kwik Lok’s plastic bag-closures. Kwik Lok took steps to give

the industry a false impression that Kwik Lok maintained legal rights that protected it from

competition, to maintain its monopoly of the Plastic Bag-Closures Market and to stifle any

potential competitors’ thoughts of entering the market.

       22.     In another improper, anti-competitive effort to extend its monopoly of the Plastic

Bag-Closures Market, Kwik Lok turned to trademark law.

       23.     Kwik Lok registered a trademark (U.S. Trademark Registration No. 1,972,043, the

“Bag-Closure Trademark”) on what was essentially a plastic square with an opening through which

a bag is closed. It did so for the express improper purpose of misusing trademark law to prevent

competition and maintain its monopoly of the Plastic Bag-Closures Market. In connection with the

efforts to secure and maintain a trademark, Kwik Lok falsely claimed that the shape of its plastic

bag-closures is “arbitrary” and “not functional” (meaning that other plastic bag-closures with

meaningfully different shapes could function just as cheaply and efficiently in automatic closing-

machines). Because the shape of its bag closures, Kwik Lok claimed, is “arbitrary and not chosen

for a functional purpose,” Kwik Lok asserted that its plastic bag-closures were properly protected

by U.S. trademark law.

       24.     In 2012, Schutte Bagclosures Inc., (“Schutte”) an American subsidiary of a Dutch

company that sells plastic bag-closures in Europe, sued Kwik Lok (WA) in the United States

District Court for the Southern District of New York, in a case captioned Schutte Bagclosures Inc.,

v. Kwik Lok Corporation, Case No. 12-CV-5541 (JGK) (“SDNY Litigation”). In the SDNY

Litigation, among other things, Schutte sought a declaratory judgment that Kwik Lok’s Bag-

Closure Trademark is invalid.



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       25.     Following a five-day trial, on June 14, 2016, the court in the SDNY Litigation

issued an opinion. In the opinion, the court made the following findings, all of which will bind

Kwik Lok in this litigation under such doctrines as collateral estoppel and fact preclusion:

               a.      Kwik Lok is the only company in the United States that produces

                       and sells re-usable sheet plastic closures that run through an

                       automatic closing machine. (SDNY Litigation, 193 F. Supp. 3d 245,

                       252, ¶ 3 (2016));

               b.      Those plastic closures are designed to run through machines at very

                       high speeds, in some cases up to 6,600 bags per hour (or 110 per

                       minute). (Id.);

               c.      Kwik Lok is the owner of a U.S. trademark registration, [U.S.

                       Trademark Registration No. 1,972,043, (the “‘043 Registration”)],

                       which is a graphic rendering of “plastic closures for bags…” (Id., ¶

                       8);

               d.      Although Kwik Lok has distributed several slight variations of Kwik

                       Lok’s plastic bag-closure products, these products are substantially

                       the same shape as the closure in the ‘043 Registration. (Id., at 253,

                       ¶ 13);

               e.      Kwik Lok has been using these plastic bag-closures for 50 years (Id.,

                       at 275, ¶ 98);

               f.      From 1996 through 2013, sales of Kwik Lok bag-closure products

                       exceeded 5 billion units per year. Between March 31, 1997, and




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                March 31, 2013, Kwik Lok sold more than 100 billion plastic bag-

                closures. (Id. at 275-76, ¶ 101);

         g.     Kwik Lok in some cases did not have any contact with the customers

                who purchased its products, as the customers interacted directly with

                third-party distribution sources (like Volm) who placed orders

                directly on behalf of those customers. (Id. at 254, ¶ 31);

         h.     In response to the expiration of its patents for bag-closures, Kwik

                Lok sought to extend protection over its bag closures indefinitely

                using trademark law. (Id. at 265, ¶ 53);

         i.     Kwik Lok did so by seeking to trademark essentially a simple square

                accompanied by an opening through which a bag is closed. That

                design is the only viable and economic way to design a plastic

                closure that can be fed through an automatic bag-closure machine.

                (Id., at 273, ¶ 89);

         j.     Kwik Lok’s trademark is improper because it is “functional,”

                meaning the shape of the bag-closure that Kwik Lok sought to

                protect by trademark law is the only viable way to design a plastic

                bag-closure that can be run through a high-speed machine. (Id.);

         k.     A “functional” trademark is not permitted by law because an entity

                that trademarks a function achieves an improper monopoly, barring

                all products by competitors that seek to perform that function. (Id.

                at 261, ¶ 31);




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               l.      Because the “functional” trademark Kwik Lok obtained excluded all

                       competitive plastic bag-closures, Kwik Lok’s monopoly-creating

                       Bag-Closure Trademark is invalid. (Id. at 286).

       26.     The opinion in the SDNY Litigation and the invalidation of its Bag-Closure

Trademark was a huge blow to Kwik Lok. For the first time in 54 years (since it first designed

plastic bag-closures that run through automatic machines), Kwik Lok faced the prospect of

competition in the United States. It acted swiftly, and illegally, to counteract the threat and restrain

competition in the Plastic Bag-Closures Market.

       C.      Kwik Lok Improper Attempts to Continue Its Monopoly Through Unlawful
               Distribution Agreements.

       27.      The vast majority of Kwik Lok’s sales are made through independent distribution

(like Volm provided) in the United States. (SDNY Litigation, 193 F. Supp. 3d at 254, ¶ 28.)

       28.     As of June 2016, Kwik Lok had no formal contracts with these distribution sources

(such as Volm). (Id., ¶ 29.) These distribution sources were not prohibited by contract from selling

products competitive to Kwik Lok’s products, but there were no such competitive products, as

Kwik Lok had a decades-long monopoly in the United States. (Id., ¶ 30.)

       29.     Kwik Lok came annually to Antigo to meet with Volm to discuss their business

together and new developments. In June 2016, after the trial in the SDNY Litigation, Kwik Lok

asked to come to Antigo to meet with Volm. Kwik Lok provided no notice, prior to the meeting,

that it intended to present Volm at the Antigo meeting with a contract that would fundamentally

change the nature of the 25-year relationship between Kwik Lok and Volm.

       30.     At the meeting, Kwik Lok presented a lengthy contract to Volm and demanded that

Volm sign it within a short time following the meeting.




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       31.     The draft contract was unreasonable, onerous and one-sided, including because it

specified the markup Volm would be permitted to charge Volm’s customers on sales of Kwik Lok

products. In a business relationship lasting more than 25 years, Kwik Lok had never before sought

to control Volm’s pricing in this fashion.

       32.     Kwik Lok’s representatives were vague and evasive in explaining the purpose of

the contract, telling Volm that Kwik Lok was asking all its distributors to sign such contracts. It

told Volm at the meeting that if Volm did not sign the contract, Kwik Lok would not allow Volm

to buy Kwik Lok products.

       33.     The June 2016 draft contract was onerous in both apparent and subtle ways. Among

other things, it contained unreasonably broad non-compete provisions barring Volm from directly

or indirectly developing, manufacturing or selling any product that would compete with Kwik

Lok’s products, unreasonably broad non-solicitation agreements barring Volm from contacting

any past or current Kwik Lok vendor or supplier, and an unreasonably broad non-disclosure

provision with an expansive definition of “Confidential Information” that, among other things,

characterized the names and addresses of every actual or potential buyer of Kwik Lok products

from Volm as “Confidential Information.” All of these provisions were to survive termination of

the contract, and the non-disclosure period never expired.

       34.     Because Kwik Lok had a monopoly over the entire U.S. Plastic Bag-Closures

Market, every company that used plastic bag-closures was an actual or potential Kwik Lok

customer. By labeling the identities and contact information of every actual or potential Kwik Lok

customer as “Confidential Information,” and permanently barring Volm from ever using or

disclosing any “Confidential Information,” Kwik Lok sought permanently to prevent Volm from




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contacting any actual or potential customer of any product that was competitive with Kwik Lok’s

products.

       35.     Volm learned that Kwik Lok was asking all its distributors to sign similar contracts.

By locking its distributors into agreements that permanently prevented contact with all actual or

potential customers in the entire U.S. market, Kwik Lok intended to use these distribution

agreements to create a chokehold that would restrain competition in the Plastic Bag-Closures

Market and extend its monopoly indefinitely.

       36.     Kwik Lok’s anti-competitive intent concerning the distribution agreements is

transparent from their timing. The SDNY Litigation opinion, invalidating the improper Kwik Lok

Bag-Closure Trademark, was issued on June 14, 2016. The draft contract Kwik Lok presented to

Volm specified that it became effective the next day, June 15, 2016.

       D.      Volm Attempts Unsuccessfully to Avoid the Draft Contract, But Is Forced to
               Sign It to Protect Its Customers and Maintain Its Business.

       37.     Volm was very distressed by Kwik Lok’s proposed contract, and requested

meetings and negotiations to attempt to revise its harsh and one-sided terms. Kwik Lok agreed to

make a few changes, but did not budge on the material aspects of the onerous and unreasonable

non-compete, non-solicitation and non-disclosure provisions. Eventually, Kwik Lok told Volm

that it was not interested in any more changes, and Volm could sign the agreement or stop selling

Kwik Lok products.

       38.     Because of Kwik Lok’s 54-year monopoly and Volm’s heavy investment in Kwik

Lok products (including its integration of Kwik Lok products with Volm’s many products), Volm

had two choices: (1) either sign Kwik Lok’s unreasonable and unfair contract; (2) or exit the bag-

closure business, abandoning Volm’s customers and cutting both Volm and its customers off of

any supply of plastic bag-closures and the machines that apply them to bags.

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       39.     The pressure to sign Kwik Lok’s onerous contract was made even more urgent by

the fact that (as Kwik Lok knew) Volm was entering its heavy-packing season, and needed

immediately to place large orders with Kwik Lok to meet the needs of Volm’s customers. Very

reluctantly, under the duress of Kwik Lok’s monopoly power and Kwik Lok’s decision to present

the contract at a time of most pressing need, Volm signed the contract, effective October 1, 2016

(“Distribution Agreement”).

       40.     The final Distribution Agreement was substantially similar to the draft presented

by Kwik Lok in June 2016 in terms of the unreasonable non-compete, non-solicitation and non-

disclosure provisions. It had a two-year, auto-renewing term, and provided that for three years

after termination, Volm was not permitted to:

               •      “directly or indirectly, develop or manufacture Key Products (or

                      help any other Person do the same)”; or

               •      “directly or indirectly, contact any known former or current Kwik

                      Lok vendors or suppliers for its Key Products (or help any other

                      person do the same).”

“Key Product” were defined as “(i) bag closures made of flat plastic (with or without labels); (ii)

machinery or equipment that closes bags using the closures described in (i); whether made by

Kwik Lok or otherwise.”

       41.     Thus, at minimum, Volm could not for a period of five years (the initial two-year

term and the three-year post-termination period) work with any possible competitor of Kwik Lok

to develop, manufacture or (effectively) to sell any plastic bag-closure or bag-closure machine.

And if Volm ever terminated the Distribution Agreement for any reason, Volm would have to exit

the Plastic Bag-Closure Market immediately, for at least three years, before Volm could even start



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preparing to work with a competitor as it had done for decades with Kwik Lok. Such a long period

with such a broad set of unreasonable restrictions would be the death knell of any company that

considered ending its relationship with Kwik Lok and working with a competitor.

       42.    Even worse, the Distribution Agreement had a permanent non-disclosure provision

that prevented Volm from using or disclosing “Confidential Information,” defined as:

              “[A]ny and all information, documentation or knowledge in any form,

              relating to the business and assets of Kwik Lok, not generally known to the

              public, disclosed to, or which may be obtained directly or indirectly by, the

              Distributor, or which may be derived in any way by it as a consequence of

              the performance of its obligations hereunder, including, without limitation,

              information relating to Kwik Lok’s present and contemplated products and

              services;   product   designs;    inventions,   improvements;     standards,

              specifications, systems, methods and operating procedures; techniques and

              modes of manufacturing, compounding or preparing products, formulations

              and recipes; merchandising, marketing plans and strategies; tests and

              reports; profits, costs, pricing, product sourcing and sales policies and

              strategies; buying habits and preferences of present customers of Kwik

              Lok as well as prospective and potential customers, their names and

              addresses; trade secrets, know-how, data, research and development;

              patent, trademark, copyright, industrial design and all other intellectual

              property and proprietary rights…

       43.    Through its subversive definition of “Confidential Information,” the Distribution

re-defined all of Volm’s customers as Kwik Lok customers, and permanently barred Volm from



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using or disclosing their names, addresses, buying habits or preferences in any way for any purpose

if the Distribution Agreement was ever terminated. Because, under the distorted language of the

Distribution Agreement, all buyers of plastic bag-closures or bag-closure machines (100% of the

U.S. market, given Kwik Lok’s 54-year monopoly) were deemed “Kwik Lok” customers, the

Distribution Agreement sought permanently to prevent Volm from dealing in any way with any

company that had ever bought (or could potentially buy) a plastic bag-closure or closure machine.

       44.     Even more troublingly, the permanent ban is not limited to contact concerning

Kwik Lok products. The Distribution Agreement provides that Volm cannot use or disclose the

names or addresses of actual or potential buyers of Kwik Lok products (effectively meaning Volm

could not contact them), even to sell them Volm products! The designed effect of this Distribution

Agreement was that, if Volm ever decided to part ways with Kwik Lok, Volm had to abandon all

of its customers and never compete with Kwik Lok. Through the guise of unreasonable

“distribution agreements” (which, in 2018, Kwik Lok confirmed that all sellers of Kwik Lok

products had to sign), Kwik Lok planned to harm and restrain competition and to sustain its

monopoly. Where patents and then trademark law had failed, Kwik Lok used its monopoly power

to force its distributors to sign contracts that would tie up the entire U.S. Plastic Bag-Closures

Market, indefinitely.

       E.      The Intolerable Distribution Agreement, and Volm’s Unsuccessful Attempts
               to Re-Negotiate It.

       45.     Volm was incredibly unhappy with the Distribution Agreement Kwik Lok had

forced Volm to sign, and expressed that unhappiness to Kwik Lok on multiple occasions. When

the original two-year term was set to expire on October 1, 2018, Volm told Kwik Lok that it would

not be renewing the contract as it was written. Instead, Volm told Kwik Lok that it would negotiate

in good faith a fair agreement that reflected the parties’ 25-year history together, before the coerced

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Distribution Agreement.

       46.    After the Distribution Agreement was terminated, Kwik Lok briefly sold products

to Volm under the parties’ prior (pre-Distribution Agreement) handshake agreement. Volm

promptly sent Kwik Lok a draft revised agreement, but Kwik Lok rejected it. Shortly thereafter,

Kwik Lok abruptly demanded that Volm re-sign the original 2016 Distribution Agreement, as-is,

giving Volm less than two business days to do so.

       47.    Before Kwik Lok’s deadline to sign had even expired, Kwik Lok called Volm and

left a voicemail indicating that the sales relationship between Kwik Lok and Volm would be

terminated.

       F.     Kwik Lok Enters into a New Agreement with Volm, But Immediately
              Breaches It.

       48.    On December 20, 2018, Kwik Lok sent Volm an email, informing Volm that Kwik

Lok would honor any orders Volm placed that day, but thereafter Kwik Lok would not fulfill any

of Volm’s purchase orders for Kwik Lok products.

       49.    Volm immediately accepted Kwik Lok’s offer by timely sending Kwik Lok (on

December 20) $430,376.13 worth of purchase orders for badly-needed products (“Purchase

Orders”). However, after having reached this new agreement with Volm to accept all Volm’s

orders on December 20, Kwik Lok immediately breached the agreement by refusing to accept any

of the Purchase Orders. Despite due demand and multiple attempts to get Kwik Lok to honor its

agreement with Volm, Kwik Lok has refused to fulfill any of the Purchase Orders.

       G.     Kwik Lok Refuses to Return Volm’s Property.

       50.    In addition to breaching its December 20 agreement with Volm, Kwik Lok has

refused to return Volm property.

       51.    At the request of Kroger Co. (one of Volm’s customers), Volm paid for the creation

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of custom artwork to be applied to plastic Kwik Lok closures Volm sold to Kroger. The artwork

is imprinted on plates that are applied to the closures sold to Kroger. Volm paid for and owns both

the artwork and the plates (“Kroger Artwork”).

        52.    Kwik Lok currently has possession of the Kroger Artwork. Given the termination

of the relationship between Kwik Lok and Volm, Volm has demanded that Kwik Lok return the

Kroger Artwork, and cease and desist any use of the Kroger Artwork not authorized by Volm.

        53.    Despite due demand, Kwik Lok has refused to return the Kroger Artwork, or agree

that it will not use the Kroger Artwork without Volm’s permission.

                                         COUNT I
                                    BREACH OF CONTRACT

        54.    Volm repeats and realleges the allegations contained in paragraphs 1 through 53 of

this Amended Complaint as if fully set forth herein.

        55.    Kwik Lok offered to accept all Volm purchase orders sent on December 20, 2018,

and Volm accepted Kwik Lok’s offer, forming an enforceable agreement.

        56.    Kwik Lok breached the contract by refusing to fulfill Volm’s December 20, 2018

Purchase Orders.

        57.    Despite due demand, Kwik Lok refuses to abide by the terms of its contract with

Volm.

        58.    As a result of Kwik Lok’s breach of contract, Volm has suffered damages, in an

amount to be determined at trial.

        59.    Volm has performed any and all conditions precedent to its right of recovery

hereunder.




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                                 COUNT II
             BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING

       60.     Volm repeats and realleges the allegations contained in paragraphs 1 through 59 of

this Amended Complaint as if fully set forth herein.

       61.     Wisconsin law assumes an implied covenant of good faith and fair dealing in all

contracts.

       62.     Kwik Lok has breached its covenant of good faith and fair dealing by virtue of the

conduct described above, including without limitation by abusing its monopoly power to force

Volm to sign an unreasonable and unfair agreement, refusing to negotiate the terms of the

agreement, unfairly terminating its more than 25-year relationship with Volm, agreeing to honor

Volm’s December 20 Purchase Orders and then breaking that promise, and refusing to return

Volm’s property.

       63.     As a result of Kwik Lok’s conduct, Volm has been damaged, in an amount to be

determined at trial.

                                      COUNT III
                                TORTIOUS INTERFERENCE

       64.     Volm repeats and realleges the allegations contained in paragraphs 1 through 63 of

this Amended Complaint as if fully set forth herein.

       65.     Volm has actual and prospective contractual and business relationships with its

customers and potential customers.

       66.     Kwik Lok was and is aware of these relationships.

       67.     Volm has an inventory of Kwik Lok products that it purchased prior to Kwik Lok’s

abrupt decision to stop selling products to Volm. Kwik Lok has told Volm’s customers that they




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cannot purchase this inventory of Kwik Lok products from Volm, and that Volm’s technicians

cannot service Kwik Lok machines.

        68.       Kwik Lok’s wrongful conduct, including but not limited to the conduct described

above, has wrongfully interfered with Volm’s relationships with customers and potential

customers.

        69.       Kwik Lok has acted intentionally in interfering with Volm’s relationships.

        70.       Kwik Lok’s interference was and is a direct and substantial factor in causing harm

to Volm, in an amount to be determined at trial.

        71.       Kwik Lok has acted maliciously towards Volm and in an intentional disregard of

Volm’s rights, and Volm is entitled to punitive damages in an amount to be determined at trial.

                                          COUNT IV
                                   WIS. STAT. § 133.14 CLAIM

        72.       Volm repeats and realleges the allegations contained in paragraphs 1 through 71 of

this Amended Complaint as if fully set forth herein.

        73.       Volm is a commercial entity that was formed in, is headquartered in, and has had

significant operations in Wisconsin for more than 60 years.

        74.       Volm has sold substantial amounts of Kwik Lok products to Wisconsin businesses,

who have ultimately sold substantial amounts of Kwik Lok products to Wisconsin consumers.

        75.       Substantial aspects of Kwik Lok’s anti-competitive conduct occurred in Wisconsin,

and Kwik Lok’s anti-competitive conduct substantially affected the people of the state of

Wisconsin and substantially impacted Wisconsin. Therefore, Kwik Lok is subject to Wisconsin’s

antitrust laws.

        76.       Wisconsin’s antitrust laws are codified in chapter 133 of the Wisconsin statutes.

This chapter begins with clear and strong statements by the Wisconsin legislature as to the

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purposes behind, intent of, and instructions to Wisconsin courts in interpreting Wisconsin’s

antitrust laws:

                  The intent of this chapter is to safeguard the public against the creation or
                  perpetuation of monopolies and to foster and encourage competition by
                  prohibiting unfair and discriminatory business practices which destroy or
                  hamper competition. It is the intent of the legislature that this chapter be
                  interpreted in a manner which gives the most liberal construction to achieve
                  the aim of competition. It is the intent of the legislature to make competition
                  the fundamental economic policy of this state and, to that end, state
                  regulatory agencies shall regard the public interest as requiring the
                  preservation and promotion of the maximum level of competition in any
                  regulated industry consistent with the other public interest goals established
                  by the legislature.

       Wis. Stat. § 133.01.

       77.        The broad reach of Wisconsin’s antitrust laws is specified in Wis. Stat. § 133.03,

providing:

                  (1) Every contract, combination in the form of trust or otherwise, or
                  conspiracy, in restraint of trade or commerce is illegal. Every person who
                  makes any contract or engages in any combination or conspiracy in restraint
                  of trade or commerce is guilty of a Class H felony….

                  (2) Every person who monopolizes, or attempts to monopolize, or combines
                  or conspires with any other person or persons to monopolize any part of
                  trade or commerce is guilty of a Class H felony….

       78.        To ensure that Wisconsin markets continue to be competitive and to promote

competition as the fundamental economic policy of the state of Wisconsin, the Wisconsin

legislature has authorized companies like Volm to serve as private attorneys general and bring civil

actions for violations of Wisconsin’s antitrust laws. One such action, the “full consideration” cause

of action, is governed by Wis. Stat. § 133.14, which provides:

                  All contracts or agreements made by any person while a member of any
                  combination or conspiracy prohibited by s. 133.03, and which contract or
                  agreement is founded upon, is the result of, grows out of or is connected
                  with any violation of such section, either directly or indirectly, shall be
                  void and no recovery thereon or benefit therefrom may be had by or for

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                  such person. Any payment made upon, under or pursuant to such
                  contract or agreement to or for the benefit of any person may be
                  recovered from any person who received or benefited from such
                  payment in an action by the party making any such payment or the heirs,
                  personal representative or assigns of the party.

       Id. (emphasis added).

       79.        In other words, Wisconsin’s full consideration statute provides that all contracts or

agreements entered into with an entity who conspires or combines (by contract or otherwise) in

violation of Wisconsin’s antitrust laws, if such contracts or agreements are directly or indirectly

founded upon, the result of, grow out of or are connected with any violation of Wisconsin’s

antitrust laws, are void. Any entity who makes a payment to or for the benefit of a person under a

contract or agreement that is directly or indirectly founded upon, is the result of, grows out of, or

is connected with a violation of Wisconsin’s antitrust laws is entitled to a full refund of that

payment.

       80.        Volm entered into multiple contracts or agreements to purchase Kwik Lok products

from Kwik Lok.

       81.        During all or part of the pendency of these agreements, Kwik Lok was engaged in

a combination, including with its distribution sources, in restraint of trade, in violation of Wis.

Stat. § 133.03.

       82.        Kwik Lok has improperly monopolized the Plastic Bag-Closures Market (the

market for plastic bag-closures to be applied by an automatic or semi-automatic bag-closing

machine, whose geographic scope is nationwide). The contracts or agreements Kwik Lok made

while engaged in a combination in restraint of trade are void, and Volm is entitled to recover all

payments it made to Kwik Lok or to Kwik Lok’s benefit under contracts or agreements that are

directly or indirectly connected with Kwik Lok’s violations of Wisconsin’s antitrust laws.



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       83.     Specifically, Kwik Lok intentionally monopolized or attempted to monopolize the

Plastic Bag-Closures Market. As described above, Kwik Lok, among other things, engaged in

patent misuse and falsely suggested to the public that its products were legally protected despite

Kwik Lok’s loss of patent protections, wrongfully misused the federal trademark registration

process and coerced the sellers of its products into signing distribution agreements with unlawful

and unreasonable restrictive covenants to prevent competition, artificially influence demand and

prevent competitors from entering into the Plastic Bag-Closures Market. Kwik Lok has engaged

in an illegal scheme of unfair, exclusionary and anti-competitive acts with the express intent to

maintain its monopoly over the Plastic Bag-Closures Market. Kwik Lok’s actions sought or

accomplished improper monopolization, and have created a dangerous probability of success in

monopolizing the Plastic Bag-Closures Market for years to come.

       84.     The illegal maintenance of Kwik Lok’s monopoly power is distinguishable from

growth or development as a consequence of a superior product, business acumen, or historic

accident.

       85.     While engaged in conduct prohibited by Wis. Stat. § 133.03, Kwik Lok made

contracts or agreements to sell Kwik Lok products that were purchased by Volm, and those

agreements, either directly or indirectly, were the result of, grew out of or were connected with

one or more violations of Wis. Stat. § 133.03.

       86.     Volm paid Kwik Lok for the products, and Kwik Lok benefitted from the payments

made by Volm pursuant to its contracts or agreements with Kwik Lok for the sale of Kwik Lok

products.

       87.     Kwik Lok, through its actions, has harmed and restrained competition, put

competitors and purchasers of plastic bag-closures at a significant non-reputation-related



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disadvantage through this illegal scheme, and has substantially affected, impacted and damaged

numerous Wisconsin businesses, Wisconsin consumers and the people of Wisconsin, including

Volm and many others, through its illegal conduct, by controlling or artificially influencing the

price of plastic bag-closures in Wisconsin. Kwik Lok’s conduct prevented full and free

competition in the Plastic Bag-Closures Market, reduced competition, innovation and consumer

choice, and tended to advance, control and raise the market prices of plastic bag-closures in

Wisconsin and harmed Wisconsin purchasers. Kwik Lok’s actions were intended to have, and did

have, a direct, substantial and reasonably foreseeable anti-competitive effect on commerce in

Wisconsin. In addition, a significant part of the anti-competitive conduct Kwik Lok engaged in

occurred in Wisconsin.

       88.     Kwik Lok’s actions have also deprived Volm, among other things, of the right and

ability to make efficient investment, resource allegation and other financial decisions related to

plastic bag-closures, in a full and free competitive market.

       89.     Because of Kwik Lok’s violations of Wis. Stat. § 133.03, the contracts or

agreements Kwik Lok entered into with Volm, which contracts or agreements were directly or

indirectly founded upon, are the result of, or which grew out of or were connected with Kwik

Lok’s combinations in violation of Wis. Stat. § 133.03, are void under the first sentence of Wis.

Stat. § 133.14. Further, under the second sentence of Wis. Stat. § 133.14, Volm is entitled to

recover from Kwik Lok in this action its payments to Kwik Lok or to Kwik Lok’s benefit that were

made upon, under or pursuant to contracts or agreements Volm entered into with Kwik Lok that

are directly or indirectly connected to Kwik Lok’s anti-competitive conduct in violation of

Wisconsin’s antitrust laws.




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                                         COUNT V
                                 WIS. STAT. § 133.18 CLAIM

        90.    Volm repeats and realleges the allegations contained in paragraphs 1 through 89 of

this Amended Complaint as if fully set forth herein.

        91.    In addition to the full consideration cause of action, Wisconsin antitrust laws allow

for recovery of treble the overcharge caused by a violation of Wisconsin’s antitrust laws. Wis. Stat.

§ 133.18 provides:

               any person injured, directly or indirectly, by reason of anything prohibited
               by this chapter may sue therefor and shall recover threefold the damages
               sustained by the person and the cost of the suit, including reasonable
               attorney fees. Any recovery of treble damages shall, after trebling, be
               reduced by any payments actually recovered under s. 133.14 for the same
               injury.

        92.    As detailed above, Kwik Lok engaged in conduct prohibited by Wis. Stat. § 133.03,

including among other things by monopolizing or attempting to monopolize the Plastic Bag-

Closures Market in the United States.

        93.    Volm was injured, directly or indirectly, by Kwik Lok’s violations of Wisconsin’s

antitrust laws, including because Volm (along with other Wisconsin purchasers) paid higher prices

for Kwik Lok’s products than they would have paid if Kwik Lok had not monopolized or attempted

to monopolize the Plastic Bag-Closures Market in the United States.

        94.    Accordingly, Volm is entitled to recover three times the overcharges caused by

Kwik Lok’s violations of Wisconsin’s antitrust laws, plus attorneys’ fees, the cost of suit, and

interest.

                              COUNT VI
            DECLARATORY JUDGMENT PURSUANT TO WIS. STAT. § 806.04

        95.    Volm repeats and realleges the allegations contained in paragraphs 1 through 94 of

this Amended Complaint as if fully set forth herein.

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        96.    Kwik Lok has asserted that the Distribution Agreement has post-termination

provisions that remain in effect, including but not limited to non-solicitation, non-competition and

non-disclosure provisions.

        97.    Volm asserts that the Distribution Agreement is unenforceable, among other

reasons, because it is the product of duress, is unconscionable, unreasonable, lacks sufficient

supporting consideration, and is void for violation of public policy, including because it was

designed to and did further improper monopolization and an illegal restraint of trade.

        98.    There is a real, substantial, justiciable and continuing controversy between Volm

and Kwik Lok regarding the legality of the Distribution Agreement and its enforceability under

Wisconsin law, including as to its post-termination provisions creating unlawful restraints on

Volm.

        99.    This controversy exists between parties whose interests are adverse.

        100.   The parties have a legal interest in the controversy because Volm has a legally

protectable interest in information related to its customers and its ability to provide its actual and

prospective customers with products competitive to Kwik Lok’s products, and Kwik Lok has

advised Volm that the post-termination provisions of the Distribution Agreement are enforceable

and continue to bind Volm.

        101.   The legal issues involved in the controversy are ripe for judicial determination.

        102.   A declaration of rights is both necessary and appropriate to establish that Volm has

an unfettered right to do business with its customers and prospective customers and to assist them

in obtaining products other than through Kwik Lok.




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       103.      Accordingly, Volm is entitled to a declaration under Wis. Stat. § 806.04, as a matter

of law, that the Distribution Agreement, including its post-termination provisions, is void and

unenforceable.

                                            COUNT VII
                                           CONVERSION

       104.      Volm repeats and realleges the allegations in paragraphs 1 through 103 of this

Amended Complaint as if fully set forth herein.

       105.      Volm owns certain property, including but not limited to the Kroger Artwork.

       106.      Kwik Lok has intentionally and without Volm’s consent taken property belonging

to Volm (including the Kroger Artwork), and seriously interfered with the right of Volm to possess

the property.

       107.      As a result of Kwik Lok’s wrongful conversion, Volm has been damaged in an

amount to be determined at trial.

       108.      Kwik Lok has acted maliciously towards Volm and in an intentional disregard of

Volm’s rights, and Volm is entitled to punitive damages in an amount to be determined at trial.

                                           COUNT VIII
                                    WIS. STAT. § 100.18 CLAIM

       109.       Volm repeats and realleges the allegations in paragraphs 1 through 108 of this

Amended Complaint as if fully set forth herein.

       110.      Kwik Lok has made false statements of fact, including but not limited to that its

products were legally protected after its patents had expired, that the shape of its plastic bag

closures were arbitrary and non-functional and therefore protected by trademark law (when in fact

they were functional and served to prevent entry into the Plastic Bag-Closure Market), with the




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intent to induce Volm to enter into the Distribution Agreement and continue to buy products from

Kwik Lok on unreasonable and unenforceable terms.

       111.    Because of the untrue, deceptive, and misleading representations and other

improper conduct by Kwik Lok, Volm entered into the Distribution Agreement and continued to

buy products from Kwik Lok on harsh and oppressive terms, and declined to pursue market

alternatives. Had Volm known the true state of Kwik Lok’s intellectual property rights, and Kwik

Lok’s improper efforts to extend its monopoly, Volm would not have entered into the Distribution

Agreement and continued to buy products from Kwik Lok.

       112.    Kwik Lok’s actions constitute a violation of the Wisconsin Deceptive Trade

Practices Act, codified at Wis. Stat. § 100.18.

       113.      By virtue of Kwik Lok’s violations of Wis. Stat. § 100.18., Volm has been

damaged, in an amount to be determined at trial.

       114.    Wis. Stat § 100.18 allows injured parties to recover costs and reasonable attorneys’

fees in any action to redress a violation, and Volm is entitled to its costs and reasonable attorneys’

fees in pursuing this action.

                                     COUNT IX
                          INTENTIONAL MISPRERESENTATION

       115.    Volm repeats and realleges the allegations in paragraphs 1 through 114 of this

Amended Complaint as if fully set forth herein.

       116.    Kwik Lok made false representations of fact, including the statements detailed

above, regarding the state of its intellectual property rights concerning its products.

       117.    These untrue factual representations, including but not limited to the statements

alleged above, were made by Kwik Lok with knowledge of their falsehood or with a reckless

disregard as to whether they were true or false.

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       118.     Kwik Lok made these misrepresentations with the intent to deceive and defraud

Volm and to induce Volm to enter into the Distribution Agreement and continue to buy products

from Kwik Lok on unreasonable and unenforceable terms.

       119.     Volm believed Kwik Lok’s representations and reasonably relied on them as true

in deciding to enter into the Distribution Agreement and continue to buy products from Kwik Lok

on such harsh and oppressive terms.

       120.     These actions constitute intentional misrepresentations on the part of Kwik Lok.

       121.     As a result of Kwik Lok’s intentional misrepresentations, Volm has been damaged,

in an amount to be determined at trial.

       122.     Kwik Lok has acted maliciously towards Volm and in an intentional disregard of

Volm’s rights, and Volm is entitled to punitive damages in an amount to be determined at trial.

                                     COUNT X
                       STRICT LIABILITY MISREPRESENTATION

       123.     Volm repeats and realleges the allegations in paragraphs 1 through 122 of this

Amended Complaint as if fully set forth herein.

       124.     Kwik Lok made false representations of fact, including the misrepresentations

described above, on Kwik Lok’s personal knowledge or under circumstances in which Kwik Lok

necessarily ought to have known the truth or untruth of its representations of fact, including but

not limited to with respect to the status of Kwik Lok’s patents and whether the shapes of Kwik

Lok’s plastic bag-closures were non-functional and therefore entitled to trademark protection.

       125.     Kwik Lok had an economic interest in the transactions in connection with which it

made these misrepresentations of fact, and expected to gain some economic benefit from these

transactions.




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       126.    Kwik Lok made these misrepresentations with the intent to deceive and defraud

Volm and to induce Volm to enter into the Distribution Agreement and continue to buy products

from Kwik Lok on unreasonable and unenforceable terms.

       127.    Volm believed Kwik Lok’s representations and reasonably relied on them as true

in deciding to enter into the Distribution Agreement and continue to buy products from Kwik Lok

on such harsh and oppressive terms.

       128.    These actions constitute strict liability misrepresentations on the part of Kwik Lok.

       129.    As a result of Kwik Lok’s strict liability misrepresentations, Volm has been

damaged, in an amount to be determined at trial.

       130.    Kwik Lok has acted maliciously towards Volm and in an intentional disregard of

Volm’s rights, and Volm is entitled to punitive damages in an amount to be determined at trial.

                                 RESERVATION OF RIGHTS

       Volm expressly reserves the right to bring additional claims after further investigation and

discovery.

       WHEREFORE, Volm demands judgment, jointly and severally against all Defendants:

       A.      For compensatory damages in an amount to be determined at trial;

       B.      For consequential damages in an amount to be determined at trial;

       C.      For punitive damages in an amount to be determined at trial;

       D.      For a judgment, pursuant to Wis. Stat. § 133.14, that: (i) the contracts or agreements
               Volm entered into with Kwik Lok while Kwik Lok was in violation of Wis. Stat. §
               133.03 are void; and (ii) that Kwik Lok is liable to Volm for repayment of all
               amounts that Volm paid Kwik Lok (or for which Kwik Lok benefited) under all
               such void contracts or agreements, in an amount to be determined at trial;

       E.      For a judgment, pursuant to Wis. Stat. § 133.18, awarding Volm three times the
               overcharge caused by Kwik Lok’s violations of Wisconsin’s antitrust laws, reduced
               after trebling by any amount actually recovered by Volm under Wis. Stat. § 133.14
               for the same injury;

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       F.      For a declaratory judgment that the Distribution Agreement, including its post-
               termination provisions, is unenforceable;

       G.      For Volm’s attorneys’ fees, expenses, costs and disbursements in this action;

       H.      For pre-judgment and post-judgment interest in the full amount permitted by law;
               and

       I.      For such other and further relief as the Court deems just and equitable.

                              REQUEST FOR EXPEDITED PROCEEDINGS

       Wis. Stat. § 133.18(5) provides:

               Each civil action under this chapter and each motion or other proceeding in
               such action shall be expedited in every way and shall be heard at the earliest
               practicable date.

Pursuant to Wis. Stat. § 133.18(5), Volm requests that this action and all motions and proceedings

in this action be expedited, consistent with the intent and the remedial goals of the Wisconsin

legislature as expressed in Wis. Stat. §§ 133.01 and 133.18(5).

                                         JURY DEMAND

       Volm demands a trial by jury on all counts so triable.

       Dated this 18th day of January, 2019.

                                      By:      Electronically signed by Atty. Ryan M. Billings
                                               Robert L. Gegios
                                               State Bar No. 1002906
                                               Ryan M. Billings,
                                               State Bar No. 1084543
                                               KOHNER, MANN & KAILAS, S.C.
                                               4650 N. Port Washington Road
                                               Milwaukee, WI 53212-1059
                                               Telephone:     (414) 962-5110
                                               Facsimile:     (414) 962-8725
                                               Email:         rgegios@kmksc.com
                                                              rbillings@kmksc.com

                                               Attorneys for       Plaintiff   Volm       Companies,
                                               Incorporated

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